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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                       )
 AMERICAN CIVIL LIBERTIES UNION, et al.,               )
                                                       )
                Plaintiffs,                            )
                                                       )
        v.                                             )
                                                              Civil Action No. 22-1721 (JEB)
                                                       )
 U.S. DEPARTMENT OF HOMELAND                           )
 SECURITY,                                             )
                                                       )
                Defendant.                             )
                                                       )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order dated September 20, 2022, Plaintiffs American Civil

Liberties Union and American Civil Liberties Union Foundation and Defendant United States

Department of Homeland Security (“DHS”) respectfully submit this Joint Status Report. This

Freedom of Information Act case involves Plaintiffs’ requests for records concerning (1) how

DHS, specifically the Center for Prevention Programs and Partnerships (“CP3”) and Office of

Intelligence and Analysis (“I&A”), assess targeted violence, risk management tools, and

definitions of key terms used to formulate domestic terrorism frameworks; and (2) the input and

guidance CRCL regarding CP3 programs and activities.

       The parties conferred about the FOIA request at issue in this case and related matters,

including narrowing the scope of the request and prioritizing categories 1, 3, and 4 of the request.

Plaintiffs agreed to limit the date range of the entire request to encompass records from April 1,

2019, through April 7, 2022. Plaintiffs also agreed to narrow category 5 of the request to the

following search terms: “domestic terrorism” or “violent white supremacy” or “domestic violent

extremism.” Plaintiffs have requested an estimate of the number of records and pages responsive
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to categories 2, 5, and 6, and the agency is working on providing that information. The parties

respectfully propose herein a schedule for processing of potentially responsive records and

production of responsive, non-exempt records.

                                             DHS Privacy

       A preliminary search of potentially responsive records to categories 1, 3, and 4 resulted in

approximately 1,662 pages. DHS Privacy has agreed to process records at a rate of 400 pages of

per month with the first release on or before October 28, 2022, and subsequent releases made on

or before the 15th of each month.

                                               CRCL

       A preliminary search of potentially responsive records to categories 1, 3, and 4 resulted in

approximately 1,273 pages. CRCL has agreed to process records at a rate of 400 pages per month

and make releases on the 15th of each month beginning on October 15, 2022.

                                          Office of I&A

       A preliminary search of potentially responsive records for category 1 resulted in

approximately 332 pages. The parties are continuing to discuss the scope of category 5. Once those

discussions are complete, Office of I&A has agreed to process records at a rate of 200 pages per

month. Plaintiffs’ position is that absent a compelling justification, I&A should process records at

the rate of 400 pages per month like the other agencies, and complete processing within one month.

                                         *       *         *

       The parties will continue to confer about the remaining categories of the request, and

propose to file another joint status report on or before January 4, 2023.




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Dated: October 4, 2022              Respectfully submitted,

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